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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Case No. 14-cv-00933-MEH

HANAN ALI and LENA DERANI,

       Plaintiffs,

vs.

JERUSALEM RESTAURANT, INC.,

       Defendant.


         MOTION FOR LEAVE TO CONDUCT DEPOSITIONS IN CHAMBERS
                 AND REQUEST FOR FORTHRIGHT DECISION


       Plaintiffs Hanan Ali and Lena Derani, by their attorney Robert M. Liechty of

CROSS LIECHTY LANE PC, move for leave to conduct the depositions of the two former

plaintiffs to be held in the court’s chambers on September 19, 2014, and, as grounds

therefor, state as follows:

       1.      The undersigned has communicated with counsel for defendant who will

oppose this motion.

       2.      Winta Ayele and Helen Belay were both former clients of the undersigned

and former plaintiffs in the instant case. They first contacted the undersigned, along

with plaintiff Ali, in July, 2013. Both testified in the unemployment compensation

hearings for Ms. Ali and for Ms. Belay. Both took part in the EEOC filing submitted July

8, 2013. In fact, Ms. Belay was the motivator behind the Title VII litigation.
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       3.     In mid-June, 2014, Ms. Ayele contacted the undersigned and said she

could no longer take part in the litigation because she was going to move to back to

Ethiopia. Therefore, the undersigned moved to dismiss her from the case.

       4.     A few weeks later, on June 30, 2014, Ms. Belay called the undersigned to

say that she also could no longer take part in the litigation because she, also, was going

back to Ethiopia for six months and then would move to Washington, DC. The

undersigned told Ms. Belay that she could still prosecute the case from Washington,

DC. In addition, the undersigned thought something was awry because both of the

former plaintiffs had seemed committed to the litigation. Therefore, the undersigned did

not at that time move to dismiss Ms. Belay from the case nor discuss her request with

anyone but with the other two plaintiffs.

       5.     At the scheduling conference on July 10, 2014, new counsel for

defendant, Ms. Milligan, said that she had not yet received the file from opposing

counsel, but that she had spoken with the restaurant’s owners.     She volunteered in the

scheduling conference that she heard that Ms. Belay had also moved to dismiss her

claims. Ms. Milligan would have only known of this by talking with the undersigned, by

talking with Ms. Belay, or by talking with the owners (who were talking with Ms. Belay).

In all likelihood, the restaurant’s owners probably told Ms. Milligan that Ms. Belay

wanted to drop her claims. Thus, it is likely that the restaurant’s owners were

communicating directly with Ms. Belay.




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         6.    Thus, there is a reasonable basis to believe that the restaurant’s owners

had something to do with Ms. Belay and Ms. Ayele dropping their claims. The

undersigned does not suggest that Ms. Milligan acted improperly in any way.

         7.    In two separate telephone calls, the undersigned asked Ms. Belay if she

was being threatened in any way by the restaurant’s owners. She denied this. In one

phone conversation, she handed the phone to Ms. Ayele, who was standing with her,

and Ms. Ayele also denied any intimidation. However, they both insisted that they not

be made to testify, although, when asked, they could offer no reason why they could not

provide testimony.

         8.    Both of these women were born and raised in Ethiopia and, therefore, the

American judicial system is not part of their culture. Their insistence that they not testify

was a complete turnabout from the unemployment compensation hearings when both of

them were eager to testify.

         9.    The undersigned reasonably believes that one or both of these women

has been intimidated by someone. Therefore, plaintiffs request that Ms. Ayele’s and

Ms. Belay’s depositions take place in the court’s chambers so that the court may advise

them regarding what legal protection they have from such intimidation.

         10.   Because much of their testimony has already been preserved in the

unemployment hearing transcripts (although some was inaudible and must be

repeated), their additional testimony will be relatively short, approximately 30-45

minutes each. The depositions are scheduled for September 19, 2014, from 9:00 to

10:30.



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      WHEREFORE, plaintiffs Ali and Derani respectfully request that this Court allow

the depositions of Ms. Ayele and Ms. Belay to take place in the court’s chambers on the

morning of September 19, 2014, in the presence of the Magistrate Judge.

      Respectfully submitted this August 28, 2014.

                                         CROSS LIECHTY LANE PC




                                  By:    s/     Robert M. Liechty
                                         Robert M. Liechty
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                                         ATTORNEY FOR PLAINTIFFS

                              CERTIFICATE OF SERVICE

       I hereby certify that on this August 28, 2014, a true and correct copy of the above
and foregoing MOTION FOR LEAVE TO CONDUCT DEPOSITIONS IN CHAMBERS
AND REQUEST FOR FORTHRIGHT DECISION was, unless otherwise indicated, filed
electronically with the Court who provides notice to the following:

Tanya E. Milligan, Esq.
Messner Reeves LLP
1430 Wynkoop Street, Suite 300
Denver, Colorado 80202
Email: tmilligan@messner.com

                                         Original Duly Signed at Law Offices of Cross
                                         Liechty Lane PC



                                         s/       Linda L. DeVico




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